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              Exhibit 4
                                                                                    Gateley
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Our ref: PT/CH/000338-0001
Your ref: DBM/AKS/NEWS3.689

13 November 2020

Grosvenor Law
27 Grosvenor Street
Mayfair
London
W1K4QP

BY EMAIL:
Dan.morrison@grosvenorlaw.com
Akram.Shalabi@,grosvenorlaw.com

Dear Sirs,

Our Clients: Ghanem Nuseibeh & Cornerstone Global Associates
Your Clients: Diligence

We refer to your letter dated 3rd November 2020.

A number of points arise.

First, you state that you act for "Diligence". However, in your Heading you specifically name
your client as "Diligence Global Business Intelligence SA". Please confirm that you also
represent Diligence International LLC and its constituent "Diligence" companies, and that your
response applies equally to each of these companies.

Second, we refer to the enclosed letter dated 7th October 2020 in which it was stated on behalf
of Diligence, apparently by its inhouse Counsel, that "neither Diligence International LLC nor
its parent company Diligence Inc" have been involved in any investigation into your clients".
This statement would appear to be false or misleading as a London branch of Diligence has
clearly been involved in such investigations. Please provide a full explanation as how such a
false or misleading statement could have been made in response to a formal solicitors' letter.

Third, you state that Diligence have been conducting covert surveillance of our clients on behalf
of an unnamed client in investigating unparticularised "allegations of bribery, corruption and
related money laundering relevant to the Qatar World Cup 2022", allegations of payments to an
unnamed Member of Parliament and bribes to an unnamed contractor. You seek to justify these
activities by reference to an article published in the New York Times almost two years ago which
makes no reference to any such bribery, corruption or money laundering and no reference to
payments to any MP. We can only infer that there is, in fact, no proper justification for your
client's surveillance activities. If you disagree please provide details of the purported
wrongdoing by our clients that Diligence was investigating.

Fourth, you seek to justify Diligence's activities by reference to a "request for further information
by the NCA". Once again, no details are provided as to when and in what terms this request was
made. The suggestion that an official body such as the NCA would ask a private investigator to
21 Arlington Street,                                        London ,   SW1A 1RN
+44 (0)20 7495 4131                                              gateleytweed.com


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carry out surveillance of a British citizen is obviously implausible. If Diligence continues to rely
on such a request please provide details of when, by whom and in what terms such a request was
made.

It is obviously a matter of grave concern to our clients that an unnamed client has instructed
Diligence to conduct surveillance, including by the placing of a recording device outside our
clients' office. Please now provide full details of the clients who gave such instructions to
Diligence. In the absence of full information in this regard we anticipate receiving instructions
to apply for a Norwich Pharmacal order to require Diligence to provide this information.

As to the matters raised in the last paragraph of your letter, these have been dealt with in the
letter of 11 November 2020 from Richard Healey of this firm and we do not propose to address
them further.

Do you have instructions to accept service of proceedings on behalf of Diligence International
LLC and its constituent companies, including Diligence Global Business Intelligence SA?

Please acknowledge receipt of this letter by return and provide a full response within 7 days.



YoA/
Gateley Tweed

Please reply by email to: paul. tweed(ci),gateleytweed. com




21 Arlington Street,                                                     London,    SW1A 1 RN
+44 (0)20 7495 4131                                                           gateleytweed .com

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